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     Richard C. Gramlich (SBN 014449)
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 2
     Seventh Floor Camelback Esplanade II
 3
     2525 East Camelback Road
 4   Phoenix, Arizona 85016
     Telephone: (602) 255-6000
 5   Facsimile: (602) 255-0103
 6   Email: rcg@tblaw.com
     Attorneys for Plaintiff
 7
                         IN THE UNITED STATES DISTRICT COURT
 8

 9                             FOR THE DISTRICT OF ARIZONA

10    Todd Schwartz, a married man,                       Case No. 2:20-cv-02002-DJH
11                               Plaintiffs,
12          vs.                                         Plaintiff’s Corporate Disclosure
                                                                    Statement
13    4 Ever Life International Limited dba 4
14
      Ever Life Insurance Company, an Illinois
      corporation; Blue Cross and Blue Shield
15    Association, an Illinois corporation;
      Worldwide Insurance Services, LLC, a
16    foreign registered limited liability
17    company; and Black and White
      Corporations I-X,
18
                                 Defendants.
19
20
           This Corporate Disclosure Statement is filed on behalf of Todd Schwartz in
21
     compliance with the provisions of: (check one)
22

23            X   Rule 7.1, Federal Rules of Civil Procedure, a nongovernmental corporate
                 party to an action in a district court must file a statement that identifies any
24               parent corporation and any publicly held corporation that owns 10% or more
25               of its stock or states that there is no such corporation.
           ____ Rule 12.4(a)(1), Federal Rule of Criminal Procedure, any nongovernmental
26
                 corporate party to a proceeding in a district court must file a statement that
27               identifies any parent corporation and any publicly held corporation that owns
28               10% or more of its stock or states that there is no such corporation.
           ____ Rule 12.4(a)(2), Federal Rule of Criminal Procedure, if an organizational
                 victim of alleged criminal activity is a corporation the government must file
                 a statement identifying the victim and the statement must also disclose the
      Case 2:20-cv-02002-DJH Document 15 Filed 11/18/20 Page 2 of 3


                 information required by Rule 12.4(a)(1).
 1
          The filing party hereby declares as follows:
 2           X No such corporation.
 3        ____ Party is a parent, subsidiary or other affiliate of a publicly owned corporation
                 as    listed    below.     (Attach     additional      pages    if    needed.)
 4
                 _______________________________ Relationship___________________
 5        ____ Publicly held corporation, not a party to the case, with a financial interest in
                 the outcome. List identity of corporation and the nature of financial interest.
 6
                 (Attach additional pages if needed.)________________________________
 7               Relationship_______________
 8        _____ Other (please explain)
          __________________________________________________________________
 9

10         A supplemental disclosure statement will be filed upon any change in the
11
     information provided herein.

12          DATED this 18th day of November, 2020.

13

14

15
                                      By: /s/ Richard C. Gramlich
16                                        Richard C. Gramlich
                                          Seventh Floor Camelback Esplanade II
17                                        2525 East Camelback Road
                                          Phoenix, Arizona 85016-4237
18                                        Attorneys for Plaintiffs
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       Case 2:20-cv-02002-DJH Document 15 Filed 11/18/20 Page 3 of 3



 1                                 CERTIFICATE OF SERVICE
 2          I hereby certify that on November 18, 2020, I electronically filed the foregoing
 3   document and any attachments using the CM/ECF system which will send a notice of
 4   electronic filing to all parties as listed on the Notice of Electronic Filing:
 5

 6                                        Sean P. Healy
                                         Robert C. Ashley
 7                              Lewis Brisbois Bisgaard & Smith llp
                                2929 N. Central Avenue, Suite 1700
 8
                                     Phoenix, AZ 85012-2761
 9                   Attorneys for Defendant 4 Ever Life International Limited

10

11                                               By: /s/ Lisa Mocek

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